      Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 1 of 15. PageID #: 201




                                UNITED STATES DISTRICT
                               COURT NORTHERN DISTRICT
                               OF OHIO EASTERN DIVISION
 IN RE: NATIONAL PRESCRIPTION                        )   MDL 2804
 OPIATE LITIGATION                                   )   Case No. 1:17-md-2804
                                                     )
 THIS DOCUMENT RELATES TO:                           )   Judge Dan Aaron Polster
                                                     )
 SHOSHONE-BANNOCK TRIBES
                                                     )   TRIBAL PLAINTIFFS' SHORT
 v.                                                  )   FORM FOR SUPPLEMENTING
                                                     )   COMPLAINT AND AMENDING
 PURDUE PHARMA L.P. ET AL.                           )   DEFENDANTS AND JURY DEMAND

 Case 1:19-op-45373



       Plaintiff submits this supplemental pleading and Amended Complaint incorporating as if

fully set forth herein its own prior pleadings and, if indicated below, the common factual

allegations identified and the RICO causes of action included in Muscogee (Creek) Nation’s First

Amended Complaint, (Doc. 731, 1:17-md-02804) and The Blackfeet Tribe of the Blackfeet Indian

Reservation’s Corrected First Amended Complaint (Redacted), (Doc. 9, 18-op-45749), both as

pleaded and as may be amended in the future ("Tribal Bellwether Plaintiffs' pleadings"), and any

additional claims asserted herein. Plaintiff also hereby amends its complaint to alter the defendants

against which claims are asserted as identified below. To the extent defendants were previously

sued in plaintiff(s)' existing complaint and they are no longer identified as defendants herein, they

have been dismissed without prejudice except as limited by CMO-1, Section 6(e). Doc. #: 232.

            INCORPORATION BY REFERENCE OF EXISTING COMPLAINT

       1.      Plaintiff(s)' Existing Complaint (No. 1:19 -op- 45373         , Doc. #: 1           )

is expressly incorporated by reference to this Short Form as if fully set forth herein except to the

extent that allegations regarding certain defendants that are not listed in section 2 below are

dismissed without prejudice.




                                                 1
     Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 2 of 15. PageID #: 202




                              PARTIES - DEFENDANTS


       2.     Having reviewed the relevant ARCOS data, Plaintiff asserts claims against the

following Defendants:

PURDUE PHARMA L.P.; PURDUE PHARMA INC.; THE PURDUE FREDERICK
COMPANY; CEPHALON, INC.; TEVA PHARMACEUTICAL INDUSTRIES, LTD.; TEVA
PHARMACEUTICALS USA, INC.; JANSSEN PHARMACEUTICALS, INC.; JOHNSON &
JOHNSON; ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC.; JANSSEN
PHARMACEUTICA, INC.; ENDO HEALTH SOLUTIONS INC.; ENDO
PHARMACEUTICALS INC.; ALLERGAN PLC, f/k/a ACTAVIS PLC; WATSON
PHARMACEUTICALS, INC.; WATSON LABORATORIES, INC.; ACTAVIS PHARMA,
INC. f/k/a WATSON PHARMA, INC.; ACTAVIS LLC; MALLINCKRODT PLC;
MALLINCKRODT LLC; SPECGX, LLC; PAR PHARMACEUTICAL, INC; PAR
PHARMACEUTICAL COMPANIES, INC. F/K/A PAR PHARMACEUTICAL HOLDINGS,
INC.; MYLAN PHARMACEUTICALS, INC.; MYLAN INC.; MYLAN INSTITUTIONAL
INC; SANDOZ, INC.; AMNEAL PHARMACEUTICALS INC.; MCKESSON CORP.;
CARDINAL HEALTH, INC.; AMERISOURCEBERGEN CORP.; ANDA, INC.;
WALGREENS BOOTS ALLIANCE, INC. a/k/a WALGREEN CO.; WALMART, INC.; THE
KROGER CO.; SMITH’S FOOD & DRUG CENTERS, INC.; JOHN KAPOOR; RICHARD S.
SACKLER; JONATHAN D. SACKLER; MORTIMER D.A. SACKLER; KATHE A.
SACKLER; ILENE SACKLER LEFCOURT; BEVERLY SACKLER; THERESA SACKLER;
DAVID A. SACKLER; TRUST FOR THE BENEFIT OF MEMBERS OF THE RAYMOND
SACKLER FAMILY a/k/a THE “RAYMOND SACKLER TRUST”; RHODES
TECHNOLOGY; RHODES TECHNOLOGY, INC.; RHODES PHARMACEUTICALS, L.P.;
RHODES PHARMACEUTICALS, INC. and THE P.F. LABORATORIES, INC.




                                            2
     Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 3 of 15. PageID #: 203




        I, Jane Joseph                            , Counsel for Plaintiff(s) certify that in
identifying all Defendants, I have followed the procedure approved by the Court and
reviewed the ARCOS data that I understand to be relevant to Plaintiff(s).

        I further certify that, except as set forth below, each of the Defendant(s) newly added
herein appears in the ARCOS data I reviewed.

        I understand that for each newly added Defendants not appearing in the ARCOS
data I must set forth below factual allegations sufficient to state a claim against any such
newly named Defendant that does not appear in the ARCOS data.

       The following newly added Defendant(s) do not appear in the ARCOS data I
reviewed:
JOHN KAPOOR; RICHARD S. SACKLER; JONATHAN D. SACKLER; MORTIMER D.A.
SACKLER; KATHE A. SACKLER; ILENE SACKLER LEFCOURT; BEVERLY SACKLER;
THERESA SACKLER; DAVID A. SACKLER; TRUST FOR THE BENEFIT OF MEMBERS
OF THE RAYMOND SACKLER FAMILY a/k/a THE “RAYMOND SACKLER TRUST”;
RHODES TECHNOLOGY; RHODES TECHNOLOGY, INC.; RHODES
PHARMACEUTICALS, L.P.; RHODES PHARMACEUTICALS, INC. and THE P.F.
LABORATORIES, INC.




Dated: 08/12/2019              Signed: s/ Jane Joseph




                                              3
     Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 4 of 15. PageID #: 204




Factual Allegations Regarding Individual Defendants

      2.1
Defendants SPECGX, LLC; PAR PHARMACEUTICAL, INC; PAR PHARMACEUTICAL
COMPANIES, INC. F/K/A PAR PHARMACEUTICAL HOLDINGS, INC.; MYLAN
PHARMACEUTICALS, INC.; MYLAN INC.; MYLAN INSTITUTIONAL INC; SANDOZ,
INC.; AMNEAL PHARMACEUTICALS INC.; ANDA, INC.; SMITH’S FOOD & DRUG
CENTERS, INC.; JOHN KAPOOR; RICHARD S. SACKLER; JONATHAN D. SACKLER;
MORTIMER D.A. SACKLER; KATHE A. SACKLER; ILENE SACKLER LEFCOURT;
BEVERLY SACKLER; THERESA SACKLER; DAVID A. SACKLER; TRUST FOR THE
BENEFIT OF MEMBERS OF THE RAYMOND SACKLER FAMILY; RHODES
TECHNOLOGY; RHODES TECHNOLOGIES, INC.; RHODES PHARMACEUTICALS, L.P.;
RHODES PHARMACEUTICALS, INC. and THE P.F. LABORATORIES, INC. are hereby
added as Defendants based on the following jurisdictional allegations:




        2.2
Defendant SPECGX, LLC ("SpecGx") is a Delaware limited liability company with its
headquarters in Clayton, Missouri and is a wholly owned subsidiary of Defendant Mallinckrodt
PLC. SpecGx is registered to conduct business and/or conducts business in Plaintiff’s
community as a licensed wholesale pharmaceutical distributer. SpecGx distributed opioids, in
violation of the duties owed to plaintiff as set forth in Plaintiff’s original complaint and the other
allegations incorporated herein, in sufficient quantities to be a proximate cause of Plaintiff’s
injuries. Based on the ARCOS data made available to Plaintiff, drugs sold and manufactured by
SpecGx represent a substantial market share in Plaintiff’s jurisdiction. SpecGx is sued as a
Manufacturing Defendant.




                                                 4
      Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 5 of 15. PageID #: 205




2.3     Defendant PAR PHARMACEUTICAL, INC. is a Delaware corporation with its
principal place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a
wholly-owned subsidiary of Defendant PAR PHARMACEUTICAL COMPANIES, INC.
F/K/A PAR PHARMACEUTICAL HOLDINGS, INC. Defendant PAR
PHARMACEUTICAL COMPANIES, INC. is a Delaware corporation with its principal place
of business located in Chestnut Ridge, New York. (Par Pharmaceutical, Inc., and Par
Pharmaceutical Companies, Inc., collectively “Par Pharmaceutical”) was acquired by Defendant
Endo International plc in September 2015 and is an operating company of Endo International
plc. Par Pharmaceutical is registered to conduct business and/or conducts business in Plaintiff’s
community as a licensed wholesale pharmaceutical distributor. Par Pharmaceutical distributed
opioids, in violation of the duties owed to Plaintiff as set forth in Plaintiff’s original complaint
and the other allegations incorporated herein, in sufficient quantities to be a proximate cause of
Plaintiff’s injuries. Based on the ARCOS data made available to Plaintiff, drugs sold and
manufactured by Par Pharmaceutical represent a substantial market share in Plaintiff’s
jurisdiction. Par Pharmaceutical is being sued as a Manufacturing Defendant.
2.4     Defendant MYLAN PHARMACEUTICALS, INC. is a West Virginia corporation with
its principal place of business in Canonsburg, Pennsylvania and is a wholly-owned subsidiary of
MYLAN INC.
2.5    Defendant MYLAN INC., formally known as Mylan Laboratories, Inc. is a Pennsylvania
corporation with its principal place of business in Canonsburg, Pennsylvania and is indirectly
wholly owned by Mylan N.V., a publicly-held company.
2.6    Defendant MYLAN INSTITUTIONAL INC. is an Illinois corporation with its principal
place of business in Canonsburg, Pennsylvania and is a wholly-owned subsidiary of Mylan Inc.
Mylan Institutional Inc.
2.7     Defendants MYLAN PHARMACEUTICALS, INC., MYLAN INC. and MYLAN
INSTITUTIONAL INC. are referred to collectively as “Mylan.” Mylan manufactures,
promotes, distributes and/or sells opioids nationally, including many Schedule II controlled
substances such as Oxycodone and Propoxy-N. Mylan is registered to conduct business and/or
conducts business in Plaintiff’s community. At all relevant times, Mylan has packaged,
distributed, supplied, sold, and otherwise placed into the stream of commerce, both nationwide
and in this jurisdiction, opioid drugs. Mylan has also labeled, described, marketed, advertised,
promoted and purported to warn or purported to inform prescribers and users regarding the
benefits and risks associated with the use of prescription opioid drugs. Mylan manufactured and
sold prescription opioids without fulfilling its legal duty to prevent diversion and report
suspicious orders. Based on the ARCOS data made available to Plaintiff, drugs sold and
manufactured by Mylan represent a substantial market share in Plaintiff’s jurisdiction. Mylan is
sued as a Manufacturing Defendant.
2.8     Defendant SANDOZ, INC. (“Sandoz”), is a Colorado corporation with its principal place
of business in Princeton, New Jersey. Sandoz is a wholly owned subsidiary of Novartis
International AG, which is based in Basel, Switzerland. Sandoz is registered to conduct business



                                                 4a
     Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 6 of 15. PageID #: 206




and/or conducts business in Plaintiff’s community. Sandoz manufacturers, promotes, distributes
and/or sells opioids nationally, including in Plaintiff’s community, including but not limited to,
fentanyl and oxycodone hcl. Sandoz distributed opioids in violation of the duties owed to
Plaintiff as set forth in Plaintiff’s original complaint and the other allegations incorporated
herein, in sufficient quantities to be a proximate cause of Plaintiff’s injuries. Based on the
ARCOS data made available to Plaintiff, drugs sold and manufactured by Sandoz represent a
substantial market share in Plaintiff’s jurisdiction. Sandoz is sued as a Manufacturing Defendant.
2.9      Defendant AMNEAL PHARMACEUTICALS INC. (“Amneal”) is a Delaware
corporation with its principal place of business located in Bridgewater, New Jersey. At all
relevant times, Amneal has packaged, distributed, supplied, sold, and otherwise placed into the
stream of commerce, both nationwide and in Plaintiff’s jurisdiction, opioid drugs. Amneal has
also labeled, described, marketed, advertised, promoted and purported to warn or purported to
inform prescribers and users regarding the benefits and risks associated with the use of
prescription opioid drugs. Further, Amneal manufactured and sold prescription opioids without
fulfilling its legal duty to prevent diversion and report suspicious orders. Based on the ARCOS
data made available to Plaintiff, drugs sold and manufactured by Amneal represent a substantial
market share in Plaintiff’s jurisdiction. Amneal is being sued as a Manufacturing Defendant.
2.10 Defendant ANDA, INC. (“Anda”), is a Florida corporation with its principal place
of business in Weston, Florida. Anda is registered to conduct business and/or conducts business
in Plaintiff’s community. Through its various DEA registrant subsidiaries and affiliated entities,
Anda is the fourth largest distributor of generic pharmaceuticals in the United States. In October
2016, Defendant TEVA PHARMACEUTICALS USA, INC. acquired Anda for $500 million in
cash. Anda distributes pharmaceuticals, including opioid pain medications, to retail pharmacies
and institutional providers in all 50 states, including in Plaintiffs’ state. Based on the ARCOS
data made available to Plaintiff, drugs distributed by Anda represent a substantial market share in
Plaintiff’s jurisdiction. Anda is being sued as a Distributor Defendant.

2.11 Defendant SMITH’S FOOD & DRUG CENTERS, INC. (“Smith’s”) is an Ohio
corporation with its principal place of business in Ohio. Smith’s is a subsidiary of The Kroger
Co. At all times relevant to this Complaint, Smith’s distributed prescription opioids throughout
the United States, including in Plaintiff’s community. Based on the ARCOS data made available
to Plaintiff, drugs distributed by Smith’s represent a substantial market share in Plaintiff’s
jurisdiction. Smith’s is sued as a Distributor Defendant and as a National Retail Pharmacy
Defendant.
2.12 Defendant JOHN KAPOOR (“Kapoor”), is a natural person residing in Arizona.
Kapoor is the founder, former Chairman of the board of directors, and Chief Executive Officer
(“CEO”) of Insys Therapeutics, Inc. He remains the majority stockholder of the company. Insys
Therapeutics filed for Chapter 11 Bankruptcy protection on June 10, 2019. Kapoor was indicted
in Boston federal court on October 24, 2017 on charges of conspiracies to commit racketeering
pursuant to 18 U.S.C. §1962(d), mail fraud pursuant to 18 U.S.C. §1349, wire fraud pursuant 18
U.S.C. §1349 and violate the Anti-Kickback Law pursuant to 18 U.S.C. §371. The indictment
arose from the practice of Insys paying kickbacks to doctors to write large numbers of


                                                4b
     Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 7 of 15. PageID #: 207




prescriptions, which, upon information and belief, was devised by Individual Defendant Kapoor,
along with other Insys executives.
2.13 Defendant, RICHARD S. SACKLER, is a natural person residing in Travis County,
Texas. He is the son of Purdue founder Raymond Sackler and, beginning in the 1990’s, served as
a member of the board of directors of Purdue and Purdue-related entities.
2.14 Defendant, JONATHAN D. SACKLER, is a natural person residing in Fairfield
County, Connecticut. He is the son of Purdue founder Raymond Sackler and has been a member
of the board of directors of Purdue and Purdue-related entities since the 1990’s.
2.15 Defendant, MORTIMER D.A. SACKLER, is a natural person residing in New York
County, New York. He is the son of Purdue founder Mortimer Sackler. Mortimer D.A. Sackler
and has been a member of the board of directors of Purdue and Purdue-related entities since the
1990’s.
2.16 Defendant, KATHE A. SACKLER, is a natural person residing in Fairfield County,
Connecticut. She is the daughter of Purdue founder Mortimer Sackler and has served as a
member of the board of directors of Purdue and Purdue-related entities since the 1990’s.
2.17 Defendant, ILENE SACKLER LEFCOURT, is a natural person residing in New York
County, New York. She is the daughter of Purdue founder Mortimer Sackler and has served as a
member of the board of directors of Purdue and Purdue-related entities since the 1990’s.
2.18 Defendant, BEVERLY SACKLER, is a natural person residing in Fairfield County,
Connecticut. She is the widow of Purdue founder Raymond Sackler and has served as a member
of the board of directors of Purdue and Purdue-related entities since the 1990’s.
2.19 Defendant, THERESA SACKLER, is a natural person residing in New York County,
New York. She is the widow of Purdue founder Mortimer Sackler and has served as a member of
the board of directors of Purdue and Purdue-related entities since the 1990’s.
2.20 Defendant, DAVID A. SACKLER, is a natural person residing in New York County,
New York. He is the son of Richard Sackler (and the grandson of Raymond Sackler) and has
served as a member of the board of directors of Purdue and Purdue-related entities since the
2012.
2.21 Defendant, TRUST FOR THE BENEFIT OF MEMBERS OF THE RAYMOND
SACKLER FAMILY (the “Raymond Sackler Trust”), is a trust of which Defendants, Beverly
Sackler, Richard S. Sackler and/or Johnathan D. Sackler are trustees. It is the 50% direct or
indirect beneficial owner of Purdue and Purdue related entities and the recipient of 50% of the
profits from the sale of opioids by Purdue and Purdue-related entities.
2.22 Defendants, Richard S. Sackler, Jonathan D. Sackler, Mortimer D.A. Sackler, Kathe A.
Sackler, Ilene Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David A. Sackler and the
Trust for the Benefit of the Members of the Raymond Sackler Family will hereinafter be
collectively referred to as the “Sacklers” or the “Sackler Defendants”. The Sacklers are included



                                               4c
     Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 8 of 15. PageID #: 208




collectively in the term “Purdue”, and collectively in the allegations, claims and causes of action
against Purdue as a Manufacturer Defendant described in the original complaint.
2.23 Defendant, RHODES TECHNOLOGY (“Rhodes Tech”) is a Delaware general
partnership formed on April 12, 2005 with its principal place of business in Coventry, Rhode
Island. At all times relevant hereto Rhodes Tech or its predecessor has manufactured and
supplied Purdue with oxycodone, the active pharmaceutical ingredient in OxyContin for use in
the manufacture of pharmaceutical preparations.
2.24 Defendant, RHODES TECHNOLOGY, INC. (“Rhodes Tech Inc.”) is a Delaware
corporation formed on January 28, 1999 with its principal place of business in Coventry, Rhode
Island. Rhodes Tech Inc. is a general partner of Rhodes Tech. At all times relevant hereto,
Rhodes Tech Inc. has manufactured and supplied Purdue with oxycodone, the active
pharmaceutical ingredient in Oxycontin for use in the manufacture of pharmaceutical
preparations or has managed Rhodes Tech or its predecessor in doing so.
2.25 Defendant, RHODES PHARMACEUTICALS, L.P. (“Rhodes Pharma”) is a Delaware
limited partnership formed on November 9, 2007 with its principal place of business in
Coventry, Rhode Island. At all times relevant hereto, Rhodes Pharma has marketed a generic
form of Oxycontin which is manufactured by Purdue Pharmaceuticals, L.P. (“PPNC”), a
Delaware limited partnership, which is a subsidiary of Defendant Purdue Pharma L.P. and which
owns and operates a pharmaceutical manufacturing facility in Wilson, North Carolina.
2.26 Defendant, RHODES PHARMACEUTICALS, INC. (“Rhodes Pharma, Inc.”) is a New
York corporation formed on November 9, 2007. Rhodes Pharma, Inc. is a general partner of
Rhodes Pharma. At all times relevant hereto, Rhodes Pharma, Inc. has marketed a generic form
of Oxycontin which is manufactured by PPNC.
2.27 Rhodes Tech, Rhodes Tech Inc., Rhodes Pharma and Rhodes Pharma Inc. together are
referred to herein as the “Rhodes Defendants”.
2.28 Defendant, THE P.F. LABORATORIES, INC. (“PF Labs”) is a New Jersey
corporation with its principal place of business in Totowa, New Jersey. It was, at all relevant
times, engaged in the business of manufacturing Oxycontin for Purdue. At all times, PF Labs
has been beneficially owned, managed, and controlled by Defendant Sackler Family members.
2.29 The Rhodes Defendants and PF Labs Defendants, along with the Sacklers, may be
referred to as “Purdue Related Persons and/or Entities”.
2.30 Any and all allegations against Defendant Purdue in the Plaintiff’s original Complaint is
expressly incorporated by reference to this Short Form Complaint as if fully set forth herein and
shall specifically include the Sacker Defendants, the Rhodes Defendants and PF Labs.

2.31 As a members of the Board of Directors of the Purdue and Rhodes entities, the Sacklers
oversaw all aspects of marketing and promotion of opioid products. As board members who
were personally active in directing Purdue’s operations, the Sackler Defendants knew, or should
have known, of the deceptive marketing tactics of their opioid products.


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      Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 9 of 15. PageID #: 209




2.32 The Sackler Defendants were also aware of specific examples of deceptive marketing
through receipt of call note reviews in their capacity as board members. On information and
belief, as board members, the Sacklers received reports of opioid overdoses and reports of
misuse and abuse. Adverse event reports circulated to the Sacklers included reports of abuse,
addiction, withdrawal, overdoses, and deaths from OxyContin.

2.33 The Sackler Defendants were personally aware that: (1) OxyContin was being prescribed
without proper care; (2) OxyContin was widely abused, including orally, and not just through
snorting or injecting; (3) Purdue failed to adequately disclose the risks of abuse and diversion;
and (4) OxyContin was wrongly, and dangerously, perceived as safer than morphine.

2.34 By 2006, prosecutors found damning evidence that Purdue intentionally deceived doctors
and patients about its opioids. The Sacklers voted that the Purdue Frederick Company should
plead guilty to a felony for misbranding OxyContin as less addictive, less subject to abuse and
diversion, and less likely to cause adverse events and side effects than other pain medications.

2.35 The Sackler Defendants, as members of the family that owns Purdue, personally
benefitted from the success of OxyContin. At various points, as directors, they approved the
distribution of funds from Purdue to shareholders, including themselves and their extended
family.

2.36 The Sackler Defendants were aware since at least 1999 of potential liability for Purdue
because of the addictive nature of Oxycontin. With the intention of shielding from creditors the
proceeds of their wrongdoing, the Sackler Defendants have stripped Purdue and the Purdue-
related entities each and every year of hundreds of millions of dollars of profits from the sale of
Oxycontin and other opioid-containing medications, including a generic form of Oxycontin sold
by Defendant, Rhodes Pharma. All such transfers were and are fraudulent and all such
transferred funds should be clawed back from the Sackler Defendants in order to satisfy the
opioid related liabilities of the companies from which they were transferred.




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Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 10 of 15. PageID #: 210
    Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 11 of 15. PageID #: 211




       4.      If additional claims are alleged below that were not pled in Plaintiff's Existing

Complaint (other than the RICO claims asserted herein), the facts supporting those allegations

must be pleaded here. Plaintiff(s) assert(s) the following additional facts to support the claim(s)

identified in Paragraph 6 below (below or attached):




                                                6
    Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 12 of 15. PageID #: 212




                                            CLAIMS

       5.     The following federal RICO causes of action asserted in the Tribal Bellwether

Plaintiffs’ Pleadings as identified in the Court’s implementing order and any subsequent

amendments, are incorporated in this Short Form by reference, in addition to the causes of action

already asserted in the Plaintiff(s);s Existing complaint (check all that apply):

   ✔ First Claim for Relief - Violation of RICO, 18 U.S.C. § 1961 et seq. - Opioid Marketing
   Enterprise (Against the "Marketing Manufacturer Defendants") (Muscogee (Creek)
   Pleadings, Paragraphs 353-379)

   ✔First Claim for Relief - Violation of RICO, 18 U.S.C. § 1961 et seq. - Opioid Marketing
   Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo and Mallinckrodt (the
   "RICO Marketing Defendants")) (Blackfeet Pleadings, Paragraphs828-855)

    ✔ Second Claim for Relief - Violation of RICO, 18 U.S.C. § 1961 et seq. - Opioid
   Supply Chain Enterprise (Against All Defendants) (Muscogee (Creek) Pleadings,
   Paragraphs 380-408)

    ✔ Second Claim for Relief - Violation of RICO, 18 U.S.C. § 1961 et seq. - Opioid
   Supply Chain Enterprise (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt,
   Actavis, McKesson, Cardinal, and AmerisourceBergen (the "RICO Supply Chain
   Defendants")) (Blackfeet Pleadings, Paragraphs 856-887)




                                                 7
     Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 13 of 15. PageID #: 213




6.    Plaintiff asserts the following additional claims as indicated (below or attached):




                                               8
     Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 14 of 15. PageID #: 214




       7.    To the extent Plaintiff(s) wish(es) to dismiss claims previously asserted in

Plaintiff(s)’s Existing Complaint, they are identified below and will be dismissed without

prejudice.

Count I - Public Nuisance - Federal Common Law

Count V - Lanham Act 15 U.S.C. §1125(a)(1)(B)




                                            
    Case: 1:19-op-45373-DAP Doc #: 2 Filed: 08/12/19 15 of 15. PageID #: 215




       WHEREFORE, Plaintiff(s) prays for relief as set forth in the Tribal Bellwether

Pleadings in In Re National Prescription Opiate Litigation in the United States District Court

for the Northern District of Ohio, MDL No. 2804 and in Plaintiff's Existing Complaint as has

been amended herein.

Dated: 08/12/2019                             Jane Joseph
                                                            Attorney for Plaintiff(s)




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